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11
                               UNITED STATES DISTRICT COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
13
                                     WESTERN DISTRICT
14
                                                  No. CV 20-02679 MCS (Ex)
15
     EBONY BALLARD,                               DEFENDANT’S MOTION IN LIMINE
16                                                NO. 3 TO EXCLUDE TESTIMONY
                 Plaintiff,                       REGARDING UNEXHAUSTED EEO
17                                                ALLEGATIONS; DECLARATION OF
                        v.                        LESLIE CEDOLA
18
   LOUIS DEJOY, Postmaster                        Pretrial Conf:    May 24, 2021
19 General of the United States Postal Service,   Time:             2:00 p.m.
                                                  Trial:            June 15, 2021
20                                                Ctrm:             United States Courthouse
                                                                    350 W. First Street
21               Defendant.                                         Courtroom 7C, 7th Floor
                                                                    Los Angeles, CA 90012
22
                                                  Hon. Mark C. Scarsi
23                                                United States District Judge
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1                 NOTICE OF MOTION AND MOTION IN LIMINE NO. 3
2           PLEASE TAKE NOTICE that on Monday, May 24, 2021, at 2:00 p.m., or as soon
3    thereafter as he may be heard, defendant Louis DeJoy, Postmaster General of the United
4    States Postal Service (“USPS”) will, and hereby does, move this Court for an order
5    excluding any testimony or evidence of Plaintiff’s unexhausted EEO allegations that
6    were not presented to USPS during the administrative proceeding. This motion will be
7    made in the First Street Federal Courthouse before the Honorable Mark C. Scarsi, United
8    States District Judge, located at 350 W. 1st Street, Los Angeles, CA 90012, Courtroom
9    7C, 7th Floor.
10          Defendant brings this motion on the ground that unexhausted allegations will lead
11   to prejudice, confusion, and a waste of time in violation of Federal Rules of Evidence
12   403.
13          This Motion is based on this Notice of Motion and Motion, the attached
14   Memorandum of Points and Authorities, the declaration of Leslie Cedola, the files and
15   records in this case, and such other evidence or argument as the Court may consider.
16          This Motion is made following the conference of counsel pursuant to this Court’s
17   Scheduling Order and the Local Rule 16-2 meeting of counsel which was held on April
18   26, 2021.
19
20    Dated: May 3. 2021                   TRACY L. WILKISON
                                           Acting United States Attorney
21                                         DAVID M. HARRIS
                                           Assistant United States Attorney
22                                         Chief, Civil Division
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                                           /s/ Fatimargentina Lacayo
25                                         FATIMARGENTINA LACAYO
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26                                         Assistant United States Attorney
                                           Attorneys for Defendant, Louis DeJoy
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                                                 1
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant anticipates that Plaintiff will attempt to present evidence at trial that
4    Plaintiff did not exhaust at the administrative level. Plaintiff’s only exhausted allegations
5    were that: (1) management was aware of her co-worker’s previously sexually harassing
6    conduct towards her and failed to address it; (2) On June 20, 2017, her schedule was
7    changed; (3) On June 27, 2019, she was loudly asked in front of co-workers whether she
8    wanted to resign. See Declaration of Leslie Cedola (“Cedola Decl.”) ¶ 3, Ex. A. Plaintiff
9    should be barred from raising any new allegations that she did not raise during the
10   administrative process since those allegations are unexhausted and have a high
11   probability of confusing the jury and unfairly prejudicing Defendant.
12   II.   ARGUMENT
13         To litigate a Title VII claim in federal district court, plaintiffs must first exhaust
14   their administrative remedies. Sosa v. Hiraoka, 920 F.3d 385, 392 (9th Cir. 1990).
15   Failure to exhaust “renders a suit subject to dismissal in the absence of any equitable
16   consideration to the contrary.” Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621,
17   626 (9th Cir. 1988); 42 U.S.C. §2000e-16(c) (judicial review permitted only after
18   exhaustion of administrative remedies). All of Plaintiff’s claims alleged to have occurred
19   after August 30, 2019, when USPS accepted an amendment to Plaintiff’s formal EEO
20   Complaint and, certainly after October 24, 2019, when an EEO investigation report was
21   issued following an investigation, are not actionable because they were not exhausted.
22   See Cedola Decl. ¶ 3, Ex. A.
23         Plaintiff will presumably argue that her new allegations that she either (1) did not
24   make at the administrative level or (2) concern events that occurred subsequent to
25   August 30, 2019, are probative to her claims of retaliation. If that evidence has probative
26   value, however, its value is outweighed by the likelihood that the jury will be confused
27   or misled by evidence about the events that Plaintiff alleges occurred subsequent to
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1    August 30, 2019. As such, this evidence should be excluded under Federal Rules of
2    Evidence, rule 403. Allowing the jury to consider allegations that were not made at the
3    administrative level creates the possibility that a jury might find that Plaintiff’s change of
4    schedule and comment about her resignation (which are the sole actions presented
5    administratively) were non-retaliatory, but still return a verdict in favor of Plaintiff if it
6    concludes that the USPS acted improperly with regards to Plaintiff’s new, unexhausted
7    allegations. Plaintiff’s new, unexhausted allegations could also result in “mini-trials” that
8    could confuse the jury and unfairly prejudice Defendant in violation of Fed. R. Evid.
9    403.
10   III.     CONCLUSION
11            For the foregoing reasons, Defendant respectfully requests that the Court enter an
12   order excluding any testimony or evidence that were not exhausted at the administrative
13   level.
14    Dated: May 3. 2021                      TRACY L. WILKISON
                                              Acting United States Attorney
15                                            DAVID M. HARRIS
                                              Assistant United States Attorney
16                                            Chief, Civil Division
                                              JOANNE S. OSINOFF
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                                              Chief, General Civil Section, Civil Division
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                                              /s/ Fatimargentina Lacayo
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